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July 5, 2023

VIA ECF

The Honorable Michael J. Roemer
United States District Court
Western District of New York
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, NY 14202

        Re:    Grand’Maison v. Roswell Park Comprehensive Cancer Center, et al.;
               No. 23 Civ. 00099 (JLS) (MJR)

Dear Judge Roemer:

We represent Plaintiff and write jointly with Defendants pursuant to Section 8(c) of the Case
Management Plan (Dkt. No. 21), which requires the parties to inform the Court of any disputes
with respect to a protocol for the search, review and production of electronically stored
information (“ESI”). While the parties have not yet finalized an ESI protocol, we have met and
conferred and exchanged markups of the technical aspects of such protocol and will continue to
work cooperatively in an effort to resolve such disputes. The parties have also not yet agreed on
a search term protocol with respect to ESI and have agreed to work together on that aspect of the
protocol in conjunction with the meet and confer process as to the scope of document
discovery. The parties anticipate that there may be disputes which may need to be resolved but
are not currently in a position to present those disputes to the Court. We will promptly inform
the Court to the extent judicial intervention is needed with respect to any aspect of the ESI
protocol.

Respectfully submitted,



David E. Gottlieb

Encl.

cc: All Counsel of Record (via ECF)
